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                                      ATTACHMENT A

                                    Property to be searched

       This warrant applies to information associated with the location known as 133 Candle

Court, Englewood, OH, 45322. The residence is a single story, single family brick home, a

brown shingled roof with brown shutters surrounding the windows. The residence is part of a

multiple unit building. The residence has a white front door, the numbers 133 above the attached

garage with a brown door. Facing the home from the street, a driveway is located on the front left

of the residence.
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                                        ATTACHMENT B

                                       Property to be seized

       1.      The items to be seized are fruits, evidence, information, contraband, or

instrumentalities, in whatever form and however stored, relating to violations of Title 18 United

States Code Section 1752(a)(1) and (2) (unlawful entry on restricted buildings or grounds); and

Title 40 United States Code Section 5104(e)(2)(D) and (G) (violent entry, disorderly conduct,

and other offenses on capitol grounds) (the “Target Offenses”) that have been committed by

Walter Messer (“the Subject”) and other identified and unidentified persons, as described in the

search warrant affidavit; including, but not limited to:

            a. Evidence concerning planning to unlawfully enter the U.S. Capitol, including any
               maps or diagrams of the building or its internal offices;

            b. Evidence concerning unlawful entry into the U.S. Capitol, including any property
               of the U.S. Capitol;

            c. Evidence concerning awareness of the official proceeding that was to take place at
               Congress on January 6, 2021, i.e., the certification process of the 2020
               Presidential Election;

            d. Evidence concerning efforts to disrupt the official proceeding that was to take
               place at Congress on January 6, 2021, i.e., the certification process of the 2020
               Presidential Election;

            e. Evidence relating to a conspiracy to illegally enter and/or occupy the U.S. Capitol
               Building on or about January 6, 2021;

            f. Evidence concerning the breach and unlawful entry of the United States Capitol,
               and any conspiracy or plan to do so, on January 6, 2021;

            g. Evidence concerning the riot and/or civil disorder at the United States Capitol on
               January 6, 2021;

            h. Evidence concerning the assaults of federal officers/agents and efforts to impede
               such federal officers/agents in the performance of their duties the United States
               Capitol on January 6, 2021;
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     i. Evidence concerning damage to, or theft of, property at the United States Capitol
        on January 6, 2021;

     j. Evidence of any conspiracy, planning, or preparation to commit those offenses;

     k. Evidence concerning efforts after the fact to conceal evidence of those offenses,
        or to flee prosecution for the same;

     l. Evidence concerning materials, devices, or tools that were used to unlawfully
        enter the U.S. Capitol by deceit or by force, including weapons and elements used
        to breach the building or to counter efforts by law-enforcement, such as pepper
        spray or smoke grenades;

     m. Evidence of communication devices, including speakers, closed circuit radios or
        walkie-talkies, that could have been used by co-conspirators to communicate
        during the unlawful entry into the U.S. Capitol;

     n. Evidence of the state of mind of the subject and/or other co-conspirators, e.g.,
        intent, absence of mistake, or evidence indicating preparation or planning, or
        knowledge and experience, related to the criminal activity under investigation;
        and

     o. Evidence concerning the identity of persons who either (i) collaborated,
        conspired, or assisted (knowingly or unknowingly) the commission of the
        criminal activity under investigation; or (ii) communicated with the unlawful
        actors about matters relating to the criminal activity under investigation, including
        records that help reveal their whereabouts.
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       2.      Records and information that constitute evidence of identity, including but not

limited to clothing or items worn or carried by the subject, to include a red, white and blue

Oakley hat and a black jacket;

       3.      Records and information that constitute evidence of the Subject’s possible

affiliation with QAnon;

       4.      Records    and    information—including      but   not   limited   to   documents,

communications, emails, online postings, photographs, videos, calendars, itineraries, receipts,

and financial statements—relating to:

            a. Any records and/or evidence revealing the Subject’s presence at the January 6,
               2021, riot;

            b. Any physical records, such as receipts for travel, which may serve to prove
               evidence of travel of to or from Washington D.C. from December of 2020
               through January of 2021;

            c. The Subject’s motive and intent for traveling to the U.S. Capitol on or about
               January 6, 2021; and

            d. The Subject’s activities in and around Washington, D.C., specifically the U.S.
               Capitol, on or about January 6, 2021.

       5.      For any digital device which is capable of containing and reasonably could

contain fruits, evidence, information, contraband, or instrumentalities as described in the search

warrant affidavit and above, hereinafter the “Device(s)”:

            a. evidence of who used, owned, or controlled the Device(s) at the time the things
               described in this warrant were created, edited, or deleted, such as logs, registry
               entries, configuration files, saved usernames and passwords, documents, browsing
               history, user profiles, email, email contacts, chat, instant messaging logs,
               photographs, and correspondence;

            b. evidence of the attachment to the Device(s) of other storage devices or similar
               containers for electronic evidence;
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           c. evidence of counter-forensic programs (and associated data) that are designed to
              eliminate data from the Device(s);

           d. evidence of the times the Device(s) was used;

           e. passwords, encryption keys, and other access devices that may be necessary to
              access the Device(s);

           f. documentation and manuals that may be necessary to access the Device(s) or to
              conduct a forensic examination of the Device(s);

           g. records of or information about Internet Protocol addresses used by the Device(s);

           h. records of or information about the Device(s)’s Internet activity, including
              firewall logs, caches, browser history and cookies, “bookmarked” or “favorite”
              web pages, search terms that the user entered into any Internet search engine, and
              records of user-typed web addresses.

           i. Routers, modems, and network equipment used to connect computers to the
              Internet.

       During the execution of the search of the PREMISES described in Attachment A, law

enforcement personnel are also specifically authorized to obtain on Walter Messer (but not any

other individuals present at the PREMISES at the time of execution of the warrant) the

compelled display of any physical biometric characteristics (such as fingerprint/thumbprint,

facial characteristics, or iris display) necessary to unlock any Device(s) requiring such biometric

access subject to seizure pursuant to this warrant for which law enforcement has reasonable

suspicion that the aforementioned person(s)’ physical biometric characteristics will unlock the

Device(s), to include pressing fingers or thumbs against and/or putting a face before the sensor,

or any other security feature requiring biometric recognition of:

               (a)    any of the Device(s) found at the PREMISES,

               (b)    where the Device(s) are limited to those which are capable of containing
                      and reasonably could contain fruits, evidence, information, contraband, or
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                       instrumentalities of the offense(s) as described in the search warrant
                       affidavit and warrant attachments,

for the purpose of attempting to unlock the Device(s)’s security features in order to search the

contents as authorized by this warrant.

       While attempting to unlock the device by use of the compelled display of biometric

characteristics pursuant to this warrant, law enforcement is not authorized to demand that the

aforementioned person(s) state or otherwise provide the password or identify the specific

biometric characteristics (including the unique finger(s) or other physical features), that may be

used to unlock or access the Device(s). Nor does the warrant authorize law enforcement to use

the fact that the warrant allows law enforcement to obtain the display of any biometric

characteristics to compel the aforementioned person(s) to state or otherwise provide that

information. However, the voluntary disclosure of such information by the aforementioned

person(s) is permitted. To avoid confusion on that point, if agents in executing the warrant ask

any of the aforementioned person(s) for the password to any Device(s), or to identify which

biometric characteristic (including the unique finger(s) or other physical features) unlocks any

Device(s), the agents will not state or otherwise imply that the warrant requires the person to

provide such information, and will make clear that providing any such information is voluntary

and that the person is free to refuse the request.
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                                    ATTACHMENT C



Code Section                        Offense Description

18 U.S.C. §§ 1752(a)(1) and (2)     Restricted building or grounds and intent to impede or
                                    disrupt the orderly conduct of Government business or
                                    official functions

40 U.S.C. § 5104(e)(2)(D) and (G)   Violent entry or disorderly conduct
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                          UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO

IN THE MATTER OF THE SEARCH OF:
133 CANDLE COURT, ENGLEWOOD,
OHIO 45322                                                     3:21MJ277
                                                    Case No. ____________________
UNDER RULE 41


            AFFIDAVIT IN SUPPORT OF AN APPLICATION UNDER RULE 41
                    FOR A WARRANT TO SEARCH AND SEIZE

       I, Task Force Officer Kyle G. Metz, being first duly sworn, hereby depose and state as

follows:

                     INTRODUCTION AND AGENT BACKGROUND

       1.      I make this affidavit in support of an application under Rule 41 of the Federal

Rules of Criminal Procedure for a warrant to search the premises known as 133 CANDLE

COURT, ENGLEWOOD, OHIO 45322, hereinafter “PREMISES,” further described in

Attachment A, for the things described in Attachment B.

       2.      I am a Task Force Officer with the Federal Bureau of Investigation. I have been

assigned to the FBI as a Task Force Officer since January 2017. Currently, I am tasked with

investigating criminal activity on the U.S. Capitol grounds on January 6, 2021. As a Task Force

Officer, I am authorized by law or a Government agency to engage in or supervise the

prevention, detention, investigation, or prosecution of violations of Federal criminal laws.

       3.      The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents, witnesses, and agencies. This affidavit
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is intended to show merely that there is sufficient probable cause for the requested warrant. It

does not set forth all of my knowledge, or the knowledge of others, about this matter.

       4.      Based on my training and experience and the facts as set forth in this affidavit, I

respectfully submit that there is probable cause to believe that violations of 18 U.S.C. §

1752(a)(1) and (2) (unlawful entry on restricted buildings or grounds); and Title 40 U.S.C.

Section 5104(e)(2)(D) and (G) (violent entry, disorderly conduct, and other offenses on capitol

grounds) (the “Target Offenses”) that have been committed by Walter MESSER (“the Subject”)

and other identified and unidentified persons, including others who may have been aided and

abetted by, or conspiring with, the Subject, as well as others observed by the Subject. There is

also probable cause to search the PREMISES, further described in Attachment A, for the things

described in Attachment B.

                                     PROBABLE CAUSE

                      Background – The U.S. Capitol on January 6, 2021

       5.      The United States Capitol Police (“USCP”), the FBI, and assisting law

enforcement agencies are investigating a riot and related offenses that occurred at the United

States Capitol Building, located at 1 First Street, NW, Washington, D.C., 20510 at latitude

38.88997 and longitude -77.00906 on January 6, 2021.

       6.      At the U.S. Capitol, the building itself has 540 rooms covering 175,170 square

feet of ground, roughly four acres. The building is 751 feet long (roughly 228 meters) from north

to south and 350 feet wide (106 meters) at its widest point. The U.S. Capitol Visitor Center is

580,000 square feet and is located underground on the east side of the Capitol. On the west side

of the Capitol building is the West Front, which includes the inaugural stage scaffolding, a
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variety of open concrete spaces, a fountain surrounded by a walkway, two broad staircases, and

multiple terraces at each floor. On the East Front are three staircases, porticos on both the House

and Senate side, and two large skylights into the Visitor’s Center surrounded by a concrete

parkway. All of this area was barricaded and off limits to the public on January 6, 2021.

       7.        The U.S. Capitol is secured 24 hours a day by USCP. Restrictions around the U.S.

Capitol include permanent and temporary security barriers and posts manned by USCP. Only

authorized people with appropriate identification are allowed access inside the U.S. Capitol.

       8.        On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members

of the public.

       9.        On January 6, 2021, a joint session of the United States Congress convened at the

U.S. Capitol. During the joint session, elected members of the United States House of

Representatives and the United States Senate were meeting in separate chambers of the U.S.

Capitol to certify the vote count of the Electoral College of the 2020 Presidential Elections,

which took place on November 3, 2020 (“Certification”). The joint session began at

approximately 1:00 p.m. Eastern Standard Time (“EST”). Shortly thereafter, by approximately

1:30 p.m. EST, the House and Senate adjourned to separate chambers to resolve a particular

objection. Vice President Mike Pence was present and presiding, first in the joint session, and

then in the Senate chamber.

       10.       As the proceedings continued in both the House and the Senate, and with Vice

President Mike Pence present and presiding over the Senate, a large crowd gathered outside the

U.S. Capitol. As noted above, temporary and permanent barricades were in place around the


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exterior of the U.S. Capitol building, and USCP were present and attempting to keep the crowd

away from the Capitol building and the proceedings underway inside.

       11.     At around 1:00 p.m. EST, known and unknown individuals broke through the

police lines, toppled the outside barricades protecting the U.S. Capitol, and pushed past USCP

who were there to protect the U.S. Capitol.

       12.     At around 1:30 p.m. EST, USCP ordered Congressional staff to evacuate the

House Cannon Office Building and the Library of Congress James Madison Memorial Building,

in part because of a suspicious package found nearby. Pipe bombs were later found near both the

Democratic National Committee and Republican National Committee headquarters.

       13.     Media reporting showed a group of individuals outside of the Capitol chanting,

“Hang Mike Pence.” I know from this investigation that some individuals believed that Vice

President Pence possessed the ability to prevent the certification of the presidential election and

that his failure to do so made him a traitor.

       14.     At approximately 2:00 p.m. EST, some people in the crowd forced their way

through, up, and over the barricades and law enforcement. The crowd advanced to the exterior

façade of the building. The crowd was not lawfully authorized to enter or remain in the building

and, prior to entering the building, no members of the crowd submitted to security screenings or

weapons checks by U.S. Capitol Police Officers or other authorized security officials. At such

time, the Certification proceedings were still underway and the exterior doors and windows of

the U.S. Capitol were locked or otherwise secured. Members of law enforcement attempted to

maintain order and keep the crowd from entering the Capitol.


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       15.    Shortly after 2:00 p.m. EST, individuals in the crowd forced entry into the U.S.

Capitol, including by breaking windows and by assaulting members of law enforcement, as

others in the crowd encouraged and assisted in those acts. Publicly available video footage shows

an unknown individual saying to a crowd outside the Capitol building, “We’re going to fucking

take this,” which law enforcement believes was a reference to “taking” the U.S. Capitol.




       16.    Shortly thereafter, at approximately 2:20 p.m. EST, members of the United States

House of Representatives and United States Senate, including the President of the Senate, Vice

President Mike Pence, were instructed to—and did—evacuate the chambers. That is, at or about

this time, USCP ordered all nearby staff, Senators, and reporters into the Senate chamber and

locked it down. USCP ordered a similar lockdown in the House chamber. As the subjects


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attempted to break into the House chamber, by breaking the windows on the chamber door, law

enforcement officers were forced to draw their weapons to protect the victims sheltering inside.

          17.    At approximately 2:30 p.m. EST, known and unknown subjects’ broke windows

and pushed past USCP and supporting law enforcement officers, forcing their way into the U.S.

Capitol on both the west side and the east side of the building. Once inside, the subjects broke

windows and doors, destroyed property, stole property, and assaulted federal police officers.

Many of the federal police officers were injured and several were admitted to the hospital. The

subjects also confronted and terrorized members of Congress, Congressional staff, and the

media. The subjects carried weapons including tire irons, sledgehammers, bear spray, and

Tasers. They also took police equipment from overrun police including shields and police

batons. At least one of the subjects carried a handgun with an extended magazine. These actions

by the unknown individuals resulted in the disruption and ultimate delay of the vote

Certification.

          18.    Also, at approximately 2:30 p.m. EST, USCP ordered the evacuation of

lawmakers, Vice President Mike Pence, and president pro tempore of the Senate, Charles

Grassley, for their safety.

          19.    At around 2:45 p.m. EST, subjects broke into the office of House Speaker Nancy

Pelosi.

          20.    At around 2:45 p.m. EST, one subject was shot and killed while attempting to

break into the House chamber through the broken windows.

          21.    At around 2:47 p.m. EST, subjects broke into the United States Senate Chamber.

Publicly available video shows an individual asking, “Where are they?” as they opened the door
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to the Senate Chamber. Based upon the context, law enforcement believes that the word “they” is

a reference to members of Congress.




       22.    After subjects forced entry into the Senate Chamber, publicly available video

shows that an individual asked, “Where the fuck is Nancy?” Based upon other comments and the

context, law enforcement believes that the “Nancy” being referenced was the Speaker of the

House of Representatives, Nancy Pelosi.




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       23.    A subject left a note on the podium on the floor of the Senate Chamber. This note,

captured by the filming report, stated “A Matter of Time Justice is Coming.”




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       24.     During the time when the subjects were inside the Capitol building, multiple

subjects were observed inside the U.S. Capitol wearing what appears to be, based upon my

training and experience, tactical vests and carrying flex cuffs. Based upon my knowledge,

training, and experience, I know that flex cuffs are a manner of restraint that are designed to be

carried in situations where a large number of individuals were expected to be taken into custody.




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       25.    At around 2:48 p.m. EST, D.C. Mayor Muriel Bowser announced a citywide

curfew beginning at 6:00 p.m.

       26.    At about 3:25 p.m. EST, law enforcement officers cleared the Senate floor.




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       27.     Between 3:25 p.m. EST and around 6:30 p.m. EST, law enforcement was able to

clear the U.S. Capitol of all the subjects.

       28.     Based on these events, all proceedings of the United States Congress, including

the joint session, were effectively suspended until shortly after 8:00 p.m. EST the same day. In

light of the dangerous circumstances caused by the unlawful entry to the U.S. Capitol, including

the danger posed by individuals who had entered the U.S. Capitol without any security

screenings or weapons check, Congressional proceedings could not resume until after every

unauthorized occupant had left the U.S. Capitol, and the building had been confirmed secured.

The proceedings resumed at approximately 8:00 p.m. EST, after the building had been secured.

Vice President Pence remained in the United States Capitol from the time he was evacuated from

the Senate Chamber until the session resumed.

       29.     Beginning around 8:00 p.m. EST, the Senate resumed work on the Certification.

       30.     Beginning around 9:00 p.m. EST, the House resumed work on the Certification.

       31.     Both chambers of Congress met and worked on the Certification within the

Capitol building until approximately 3:00 a.m. EST on January 7, 2021.

                               Cell Phone Usage at the Riot


       32.     During national news coverage of the aforementioned events, video footage

which appeared to be captured on mobile devices of persons present on the scene depicted

evidence of violations of local and federal law, including scores of individuals inside the U.S.

Capitol building without authority to be there.



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       33.     Based on my training and experience, I know that it is common for individuals to

carry and use their cell phones during large gatherings, such as the gathering that occurred in the

area of the U.S. Capitol on January 6, 2021. Such phones are typically carried at such gatherings

to allow individuals to capture photographs and video footage of the gatherings, to communicate

with other individuals about the gatherings, to coordinate with other participants at the

gatherings, and to post on social media and digital forums about the gatherings.

       34.     Many subjects seen on news footage in the area of the U.S. Capitol were using a

cell phone in some capacity. It appears that some subjects were recording and/or live-streaming

the events occurring in and around the U.S. Capitol and others appear to be taking photos, to

include photos and video of themselves after breaking into the U.S Capitol itself and photos of

themselves damaging and stealing property. As reported in the news media, others inside and

immediately outside the U.S. Capitol live-streamed their activities, including those described

above as well as statements about these activities.

       35.     Photos below, available on various publicly available news, social media, and

other media show some of the subjects within the U.S. Capitol during the riot. In several of these

photos, the individuals who broke into the U.S. Capitol can be seen holding and using cell

phones, including to take pictures and/or videos:




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    https://losangeles.cbslocal.com/2021/01/06/congresswoman-capitol-building-takeover-an-

attempted-coup/

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                       Tip Providing Investigative Leads Regarding Walter Messer’s
                            Possible Involvement in Events of January 6, 2021

          36.    On January 9, 2021, an anonymous tip was made to the FBI about three

individuals being present at the U.S. Capitol on January 6, 2021 and who posted pictures on their

Facebook pages and uploaded YouTube videos of their activities on that day. According to the

tipster (“T1”), the individuals posted photos of themselves entering the building and being

present inside the building. T1 identified one of the individuals as Walter Messer, age 50, of

Piqua, Ohio. The other two individuals were identified as Therese Maurer Borgerding and her

husband Richard Borgerding.



2
    https://www.businessinsider.com/republicans-objecting-to-electoral-votes-in-congress-live

-updates-2021-1
3
 https://www.thv11.com/article/news/arkansas-man-storms-capitol-pelosi/91-41abde60-a390-
4a9e-b5f3-d80b0b96141e

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                      Further Investigation Confirming Identification of Messer


       37.     A Facebook page with the Facebook Account ID 100016499853552 was located

with the vanity name “Walt Messer”. The Facebook Account ID is a unique identity number

which cannot be changed by the user. The vanity name can be changed by the user. The url for

the page was https://facebook.com/walt.messer. Your affiant compared the Facebook profile

photograph for this account to the Ohio Driver’s License photograph of Walter J. Messer and

confirmed they appear to be the same person. Additional review of the “Walt Messer” Facebook

page showed a post related to the January 6, 2021 Riot, as well as comments by Messer and

others about being at the U.S. Capitol.

       38.     A public post made by Messer on January 8, 2021 at 3:15 p.m. stated “Joe Biden

is claiming Trump supporters were taking selfies with the capital police. This is true. I’m glad

the police took time out for these selfies during the fake riot”. Several comments were made on

this post by others and Walter Messer. A comment made by a Facebook account with the vanity

name “Therese Maurer Borgerding” stated, “Walt was there. You weren’t. You have NO story

to tell. You might want to shut your mouth”. Another comment on the post by Therese Maurer

Borgerding stated, “I know they helped me and were very friendly and held the door for us to

come in the Capitol Building!”.


       39.     On January 6, 2021 at 2:45 PM PST, Messer posted the below “selfie” to his

public Facebook account that shows him inside the U.S. Capitol. In the photograph, Messer is

wearing glasses and an Oakley ball cap that resembles the United States Flag. The background

of the photograph depicts the rotunda of the U.S. Capitol. Messer posted another “selfie” to
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Facebook that shows Messer standing next to a statue of Ronald Reagan, who he appears to refer

to as “Ronnie”.




       40.    Your affiant viewed multiple posts and comments on Messer’s public Facebook

account related to the unrest at the U.S. Capitol. A photograph was posted on January 7, 2021,

from the vantage point of the top of the U.S. Capitol steps on the Eastern side. An additional

photograph from the vantage point of the top of the U.S. Capitol steps on the Eastern side was

posted on January 7, 2021 at 1:55 p.m. Both images depict the events of January 6, 2021, to

include a large crowd with many individuals holding Trump signs and flags.




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     41.   Your affiant located YouTube channel under the name Walter Messer with a

YouTube account ID UCe9eMOqnFLbAmOYwvQwXKMQ. A review of public videos posted

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on the channel include videos from the exterior of the U.S. Capitol and one from inside the U.S.

Capitol on January 6, 2021. These videos are consistent with other known footage of unrest

inside the U.S. Capitol to include known background identifying the location and a large group

of individuals moving throughout the building. The videos were posted to the YouTube account

on January 7, 2021. Your affiant compared the YouTube channel’s profile photograph to the

Ohio Driver’s License photograph of Walter J. Messer and the “Walt Messer” Facebook account

and confirmed that all photos appear to be on the same person.

          42.   Your affiant also reviewed surveillance footage from inside the United States

Capitol on January 6, 2021 that shows Messer inside the Capitol Building after the Capitol had

been breached. Messer is seen wearing the same clothing he is shown wearing in the Facebook

images, and is seen walking with a cellular telephone in his hand. It appears in the video that he

is filming a video with his phone, which is consistent with a video posted on the Walt Messer

public YouTube channel. The below images from the surveillance video show Messer circled in

orange.




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        43.   On January 8, 2021, an anonymous tipster (“T2”) reported that Walt Messer was

allegedly inside the U.S. Capitol on January 6, 2021. T2 stated that the Messer had posted

numerous pictures on his Facebook page of himself inside the building and made threatening

statements regarding the election. T2 identified Walt Messer, has having a Facebook account at

https://facebook.com/walt.messer, which has Facebook Account ID 100016499853552.           T2

indicated they were friends on social media with Messer.


        44.   Lawfully obtained Facebook records show that Facebook Account ID

100016499853552 belongs to Walt Messer and is associated with telephone number 937-216-

3611.




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        45.    Lawfully obtained AT&T records show that the telephone number 937-216-3611

was assigned to Walter Messer on February 22, 2017 and the account is still active in Messer’s

name.


        46.    Lawfully obtained AT&T records show that the cellphone associated with 937-

216-3611 was identified as having utilized a cell site providing service to a geographic area that

included the interior of the U.S. Capitol building on January 6, 2021. The device was in or

around the U.S. Capitol from approximately 2:45PM to 3:23PM.


        47.    Lawfully obtained Google records show that the YouTube account identified as

UCe9eMOqnFLbAmOYwvQwXKMQ                   is    associated     with     the    email     address

walterjmesser@gmail.com and a Google account identification number of 412287753968.


        48.    On February 18, 2021, your affiant interviewed a witness (W-1) regarding

submitted images believed to be Walter J. Messer. W-1 acknowledged submitting images to the

FBI but stated that they do not know Walter Messer. W-1 referred your affiant to another witness

(W-2) who went to high school with Walter Messer. W-1 indicated that W-2 had shared the

images in a Facebook group chat.


        49.    On February 19, 2021, your affiant telephonically interviewed W-2 regarding the

identity of Walter J. Messer. W-2 indicated that they went to school with Walter J. Messer and

had been friends with Messer on Facebook. W-2 described the photo of Messer with the bust of

Ronald Reagan and positively identified the person in the photograph as Walter Messer. This is



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one of the same photos that W-1 submitted to the FBI which W-2 confirmed as being a photo of

Messer.

       50.    On March 4, 2021, a search warrant was served to Facebook for the account

identified with the number 100016499853552 with the vanity name “Walt Messer.” The

requested records were provided on March 5, 2021, and subsequently reviewed. Walter J. Messer

posted images on January 6, 2021, from both outside and inside the United States Capitol

Building.




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      51.    Lawfully obtained location information from Google for the account identified by

the email address walterjmesser@gmail.com shows the movement of Walter J. Messer as he

traveled from the Dayton, Ohio area to the Washington D.C. area on January 5, 2021.




      52.    Walter J. Messer’s location in and around Washington D.C and the United States

Capitol Building on January 6, 2021, was also located in the provided records.




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       53.     A travel route from Washington D.C. back to Ohio on January 7, 2021 was

located. Maps showing the travel and locations are below, including travel from Dayton, Ohio to

Washington, D.C. on January 5, 2021, and returning from Washington, D.C. to Dayton, Ohio on

January 7, 2021.




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       54.    A review of the walterjmesser@gmail.com revealed seven YouTube videos

posted by the account. The videos depict the events of January 6, 2021, from both inside and

outside of the United States Capitol Building. In the video from inside the United States Capitol

Building, the United States Capitol Police can be seen inside the Rotunda on the opposite side

pushing back outside.

       55.    A search history from the walterjmesser@gmail.com account returned searches of

interest from January 6, 2021 until January 22, 2021. The searches included Brian Sicknick,

criminal trespassing laws and penalties, federal trespassing charge, federal misdemeanor

trespass, trespassing on government property, 18 U.S. 1752 – Restricted building or Grounds,

AT&T locations near Dayton, FBI billboards and news articles from Capitol arrests.




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       56.     An email located in the walterjmesser@gmail.com account from January 17,

2021, shows that Walter J. Messer acquired a new Samsung Galaxy S20 phone. A YouTube

video search on the account from January 18, 2021, for “Samsung GALAXY S20 Unboxing and

Tour! Droide Life” was located. A second searched video from January 18, 2021, was located

and titled “How to Insert SIM Card & SD Card in Samsung Galaxy S20 & S20+ WorldofTech”.

       57.     I know, based on my training and experience, that people routinely re-wear

clothing and accessories and store these items in their homes. Clothing and accessories consistent

with those worn by Walter Messer on January 6, 2021, constitute evidence of the commission of

the offenses discussed herein, in that Walter Messer can be visually identified as the individual in

the photos and videos discussed above, in part through the distinct attire and accessories worn

that day.

       58.     As described above, there is evidence that Walter Messer had in his possession a

digital device while on his way to and while at the U.S. Capitol on January 6, 2021. In addition,

based on photos and videos of the offenses that date, numerous persons committing the Target

Offenses possessed digital devices that they used to record and post photos and videos of

themselves and others committing those offenses. I also know, based on my training and

experience, that cell phones are expensive, and people routinely retain their cell phones for many

months or years. Individuals often store their phone somewhere in their home while present at

the residence. Further, based on the investigation, numerous persons committing the Target

Offenses possessed digital devices to communicate with other individuals to plan their

attendance at the gatherings, to coordinate with other participants at the gatherings, and to post

on social media and digital forums about the gatherings.
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       59.     Moreover, it is well-known that virtually all adults in the United States use mobile

digital devices. In a fact sheet from June 12, 2019, The Pew Research Center for Internet &

Technology estimated that 96% of Americans owned at least one cellular phone, and that that

same 2019 report estimated that 81% of Americans use at least one smartphone. See Mobile

Fact Sheet, https://www.pewresearch.org/internet/fact-sheet/mobile/ (last visited Jan. 9, 2021).

       60.     In addition, in my training and experience, it is common for individuals to back

up or preserve copies of digital media (such as photos and videos) across multiple devices to

prevent loss. Indeed, some companies provide services that seamlessly sync data across devices,

such as Apple devices and the Apple iCloud service. Thus, there is reason to believe that

evidence of the offense that originally resided on the Subject’s cell phone may also be saved to

other digital devices within the PREMISES. Moreover, here, as widely reported in the news

media related to this matter, many individuals committing the Target Offenses kept and posted

videos, photos, and commentary about their participation in these offenses, essentially bragging

about their participation. Based on that, there is also probable cause to believe that evidence

related to these offenses may have been transferred to and stored on digital devices beyond the

particular digital device the Subject possessed during the offenses.

       61.     Based on my training and experience, and on conversations I have had with other

law enforcement officers, I know that some individuals who participate in activities aimed at

disrupting or interfering with governmental and/or law enforcement operations have been known

to use anonymizing services and/or applications capable of encrypting communications to

protect their identity and communications. By using such tools, in some cases, the only way to


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see the content of these conversations is on the electronic device that had been used to send or

receive the communications.

       62.     The property to be searched includes laptop computers, mobile phones along with

accessories, and/or tablets owned, used, or controlled by Walter Messer, hereinafter the

“Device[s].”

       63.     Investigators have reason to believe that the Device is currently located at 133

Candle Court, Englewood, Ohio 45322 because Bureau of Motor Vehicle records identify that as

Walter Messer’s residence. Based on my training and experience, individuals keep their mobile

devices on or around their person. Vehicles owned by Walter Messer were also spotted at the

residence during surveillance as recently as January 2021.

                                      TECHNICAL TERMS

       Based on my training and experience, and information acquired from other law

enforcement officials with technical expertise, I know the terms described below have the

following meanings or characteristics:

               a.      “Digital device,” as used herein, includes the following three terms and

their respective definitions:

                       1)       A “computer” means an electronic, magnetic, optical, or other high

speed data processing device performing logical or storage functions, and includes any data

storage facility or communications facility directly related to or operating in conjunction with

such device. See 18 U.S.C. § 1030(e)(1). Computers are physical units of equipment that

perform information processing using a binary system to represent information. Computers

include, but are not limited to, desktop and laptop computers, smartphones, tablets,
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smartwatches, and binary data processing units used in the operation of other products like

automobiles.

                       2)      “Digital storage media,” as used herein, means any information

storage device in which information is preserved in binary form and includes electrical, optical,

and magnetic digital storage devices. Examples of digital storage media include, but are not

limited to, compact disks, digital versatile disks (“DVDs”), USB flash drives, flash memory

cards, and internal and external hard drives.

                       3)      “Computer hardware” means all equipment that can receive,

capture, collect, analyze, create, display, convert, store, conceal, or transmit electronic, magnetic,

or similar computer impulses or data. Computer hardware includes any data-processing devices

(including, but not limited to, central processing units, internal and peripheral storage devices

such as fixed disks, external hard drives, floppy disk drives and diskettes, and other memory

storage devices); peripheral input/output devices (including, but not limited to, keyboards,

printers, video display monitors, modems, routers, scanners, and related communications devices

such as cables and connections), as well as any devices, mechanisms, or parts that can be used to

restrict access to computer hardware (including, but not limited to, physical keys and locks).

               b.      “Wireless telephone” (or mobile telephone, or cellular telephone), a type

of digital device, is a handheld wireless device used for voice and data communication at least in

part through radio signals and also often through “wi-fi” networks. When communicating via

radio signals, these telephones send signals through networks of transmitters/receivers, enabling

communication with other wireless telephones, traditional “land line” telephones, computers, and

other digital devices. A wireless telephone usually contains a “call log,” which records the
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telephone number, date, and time of calls made to and from the phone. In addition to enabling

voice communications, wireless telephones offer a broad range of applications and capabilities.

These include, variously: storing names and phone numbers in electronic “address books”;

sending, receiving, and storing text messages, e-mail, and other forms of messaging; taking,

sending, receiving, and storing still photographs and video; storing and playing back audio files;

storing dates, appointments, and other information on personal calendars; utilizing global

positioning system (“GPS”) locating and tracking technology, and accessing and downloading

information from the Internet.

               c.     A “tablet” is a mobile computer, typically larger than a wireless phone yet

smaller than a notebook, that is primarily operated by touchscreen. Like wireless phones, tablets

function as wireless communication devices and can be used to access the Internet or other wired

or wireless devices through cellular networks, “wi-fi” networks, or otherwise. Tablets typically

contain programs called applications (“apps”), which, like programs on both wireless phones, as

described above, and personal computers, perform many different functions and save data

associated with those functions.

               d.     A “GPS” navigation device, including certain wireless phones and tablets,

uses the Global Positioning System (“GPS”) to display its current location, and often retains

records of its historical locations. Some GPS navigation devices can give a user driving or

walking directions to another location and may contain records of the addresses or locations

involved in such historical navigation. The GPS consists of 24 NAVSTAR satellites orbiting the

Earth. Each satellite contains an extremely accurate clock. Each satellite repeatedly transmits by

radio a mathematical representation of the current time, combined with a special sequence of
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numbers. These signals are sent by radio, using specifications that are publicly available. A

GPS antenna on Earth can receive those signals. When a GPS antenna receives signals from at

least four satellites, a computer connected to that antenna can mathematically calculate the

antenna’s latitude, longitude, and sometimes altitude with a high level of precision.

               e.      “Computer passwords and data security devices” means information or

items designed to restrict access to or hide computer software, documentation, or data. Data

security devices may consist of hardware, software, or other programming code. A password (a

string of alpha-numeric characters) usually operates as a digital key to “unlock” particular data

security devices. Data security hardware may include encryption devices, chips, and circuit

boards. Data security software of digital code may include programming code that creates “test”

keys or “hot” keys, which perform certain pre-set security functions when touched.          Data

security software or code may also encrypt, compress, hide, or “booby-trap” protected data to

make it inaccessible or unusable, as well as reverse the progress to restore it.

               f.      “Computer software” means digital information which can be interpreted

by a computer and any of its related components to direct the way they work. Computer

software is stored in electronic, magnetic, or other digital form. It commonly includes programs

to run operating systems, applications, and utilities.

               g.      Internet Protocol (“IP”) Address is a unique numeric address used by

digital devices on the Internet. An IP address, for present purposes, looks like a series of four

numbers, each in the range 0-255, separated by periods (e.g., 149.101.1.32). Every computer

attached to the Internet must be assigned an IP address so that Internet traffic sent from and

directed to that computer may be directed properly from its source to its destination. Most
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Internet service providers control a range of IP addresses. Some computers have static—that is,

long-term—IP addresses, while other computers have dynamic—that is, frequently changed—IP

addresses.

               h.      The “Internet” is a global network of computers and other electronic

devices that communicate with each other using numerous specified protocols. Due to the

structure of the Internet, connections between devices on the Internet often cross state and

international borders, even when the devices communicating with each other are in the same

state.

               i.      “Internet Service Providers,” or “ISPs,” are entities that provide

individuals and businesses access to the Internet. ISPs provide a range of functions for their

customers, including access to the Internet, web hosting, e-mail, remote storage, and co-location

of computers and other communications equipment.           ISPs can offer a range of options in

providing access to the Internet, including via telephone-based dial-up and broadband access via

digital subscriber line (“DSL”), cable, dedicated circuits, fiber-optic, or satellite. ISPs typically

charge a fee based upon the type of connection and volume of data, called bandwidth, which the

connection supports. Many ISPs assign each subscriber an account name, a username or screen

name, an e-mail address, an e-mail mailbox, and a personal password selected by the subscriber.

By using a modem, the subscriber can establish communication with an ISP and access the

Internet by using his or her account name and password.

               j.      A “modem” translates signals for physical transmission to and from the

ISP, which then sends and receives the information to and from other computers connected to the

Internet.
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               k.      A “router” often serves as a wireless Internet access point for one or

multiple devices and directs traffic between computers connected to a network (whether by wire

or wirelessly). A router connected to the Internet collects traffic bound for the Internet from its

client machines and sends out requests on their behalf. The router also distributes to the relevant

client inbound traffic arriving from the Internet. A router usually retains logs for any devices

using that router for Internet connectivity. Routers, in turn, are typically connected to a modem.

               l.      “Domain Name” means the common, easy-to-remember names associated

with an IP address. For example, a domain name of “www.usdoj.gov” refers to the IP address of

149.101.1.32. Domain names are typically strings of alphanumeric characters, with each level

delimited by a period. Each level, read backwards – from right to left – further identifies parts of

an organization. Examples of first-level, or top-level domains are typically .com for commercial

organizations, .gov for the governmental organizations, .org for organizations, and .edu for

educational organizations.     Second-level names will further identify the organization, for

example usdoj.gov further identifies the United States governmental agency to be the

Department of Justice. Additional levels may exist as needed until each machine is uniquely

identifiable. For example, www.usdoj.gov identifies the World Wide Web server located at the

United States Department of Justice, which is part of the United States government.

               m.      “Cache” means the text, image, and graphic files sent to and temporarily

stored by a user’s computer from a website accessed by the user in order to allow the user

speedier access to and interaction with that website in the future.

               n.      “Peer to Peer file sharing” (P2P) is a method of communication available

to Internet users through the use of special software, which may be downloaded from the
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Internet. In general, P2P software allows a user to share files on a computer with other computer

users running compatible P2P software. A user may obtain files by opening the P2P software on

the user’s computer and searching for files that are currently being shared on the network. A

P2P file transfer is assisted by reference to the IP addresses of computers on the network: an IP

address identifies the location of each P2P computer and makes it possible for data to be

transferred between computers.      One aspect of P2P file sharing is that multiple files may be

downloaded at the same time. Another aspect of P2P file sharing is that, when downloading a

file, portions of that file may come from multiple other users on the network to facilitate faster

downloading.

                     i.       When a user wishes to share a file, the user adds the file to shared

               library files (either by downloading a file from another user or by copying any file

               into the shared directory), and the file’s hash value is recorded by the P2P

               software. The hash value is independent of the file name; that is, any change in

               the name of the file will not change the hash value.

                     ii.      Third party software is available to identify the IP address of a P2P

               computer that is sending a file. Such software monitors and logs Internet and

               local network traffic.

               o.     “VPN” means a virtual private network.          A VPN extends a private

network across public networks like the Internet. It enables a host computer to send and receive

data across shared or public networks as if they were an integral part of a private network with

all the functionality, security, and management policies of the private network. This is done by

establishing a virtual point-to-point connection through the use of dedicated connections,
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encryption, or a combination of the two. The VPN connection across the Internet is technically a

wide area network (WAN) link between the sites.         From a user perspective, the extended

network resources are accessed in the same way as resources available from a private network-

hence the name “virtual private network.” The communication between two VPN endpoints is

encrypted and usually cannot be intercepted by law enforcement.

               p.     “Encryption” is the process of encoding messages or information in such a

way that eavesdroppers or hackers cannot read it but authorized parties can. In an encryption

scheme, the message or information, referred to as plaintext, is encrypted using an encryption

algorithm, turning it into an unreadable ciphertext. This is usually done with the use of an

encryption key, which specifies how the message is to be encoded. Any unintended party that

can see the ciphertext should not be able to determine anything about the original message. An

authorized party, however, could decode the ciphertext using a decryption algorithm that usually

requires a secret decryption key, to which adversaries do not have access.

               q.     “Malware,” short for malicious (or malevolent) software, is software used

or programmed by attackers to disrupt computer operations, gather sensitive information, or gain

access to private computer systems. It can appear in the form of code, scripts, active content,

and other software. Malware is a general term used to refer to a variety of forms of hostile or

intrusive software.

 COMPUTERS, ELECTRONIC/MAGNETIC STORAGE, AND FORENSIC ANALYSIS

       64.     As described above and in Attachment B, this application seeks permission to

search for evidence, fruits, contraband, instrumentalities, and information that might be found on

the PREMISES, in whatever form they are found. One form in which such items might be found
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is data stored on one or more digital devices. Such devices are defined above and include any

electronic system or device capable of storing or processing data in digital form, including

central processing units; desktop computers, laptop computers, notebooks, and tablet computers;

personal digital assistants; wireless communication devices, such as telephone paging devices,

beepers, mobile telephones, and smart phones; digital cameras; peripheral input/output devices,

such as keyboards, printers, scanners, plotters, monitors, and drives intended for removable

media; related communications devices, such as modems, routers, cables, and connections;

storage media, such as hard disk drives, floppy disks, USB flash drives, memory cards, optical

disks, and magnetic tapes used to store digital data (excluding analog tapes such as VHS); and

security devices. Thus, the warrant applied for would authorize the seizure of digital devices or,

potentially, the copying of stored information, all under Rule 41(e)(2)(B).           Based on my

knowledge, training, and experience, as well as information related to me by agents and others

involved in this investigation and in the forensic examination of digital devices, I respectfully

submit that, if digital devices are found on the PREMISES, there is probable cause to believe that

the items described in Attachment B will be stored in the Device(s) for at least the following

reasons:

               a.      Individuals who engage in the foregoing criminal activity/Target Offenses,

including posting content on the YouTube channel youtube.com/c/i70show, recording the events

of January 6, 2021 at or near the U.S. Capitol, recordings of event leading up to and the events of

January 6, 2021, communications with co-conspirators online and through electronic messaging

in relation to the events of January 6, 2021; to access websites to facilitate illegal activity and to

communicate with co-conspirators online; to store on digital devices, like the Device(s),
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documents and records relating to their illegal activity, which can include logs of online chats

with co-conspirators; email correspondence; text or other “Short Message Service” (“SMS”)

messages; and contact information of co-conspirators, including telephone numbers, email

addresses, identifiers for instant messaging and social medial accounts.

               b.      Individuals who engage in the foregoing criminal activity, in the event that

they change digital devices, will often “back up” or transfer files from their old digital devices to

that of their new digital devices, so as not to lose data, including that described in the foregoing

paragraph, which would be valuable in facilitating their criminal activity.

               c.      Digital device files, or remnants of such files, can be recovered months or

even many years after they have been downloaded onto the medium or device, deleted, or

viewed via the Internet. Electronic files downloaded to a digital device can be stored for years at

little or no cost. Even when such files have been deleted, they can be recovered months or years

later using readily available forensics tools. When a person “deletes” a file on a digital device

such as a home computer, a smart phone, or a memory card, the data contained in the file does

not actually disappear; rather, that data remains on the storage medium and within the device

unless and until it is overwritten by new data. Therefore, deleted files, or remnants of deleted

files, may reside in free space or slack space – that is, in space on the digital device that is not

allocated to an active file or that is unused after a file has been allocated to a set block of storage

space – for long periods of time before they are overwritten. In addition, a digital device’s

operating system may also keep a record of deleted data in a “swap” or “recovery” file.

Similarly, files that have been viewed via the Internet are automatically downloaded into a

temporary Internet directory or “cache.” The browser typically maintains a fixed amount of
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electronic storage medium space devoted to these files, and the files are only overwritten as they

are replaced with more recently viewed Internet pages. Thus, the ability to retrieve “residue” of

an electronic file from a digital device depends less on when the file was downloaded or viewed

than on a particular user’s operating system, storage capacity, and computer, smart phone, or

other digital device habits.

       65.     As further described in Attachment B, this application seeks permission to locate

not only electronic evidence or information that might serve as direct evidence of the crimes

described in this affidavit, but also for forensic electronic evidence or information that

establishes how the digital device(s) were used, the purpose of their use, who used them (or did

not), and when. Based on my knowledge, training, and experience, as well as information

related to me by agents and others involved in this investigation and in the forensic examination

of digital devices, I respectfully submit there is probable cause to believe that this forensic

electronic evidence and information will be in any of the Device(s) at issue here because:

               a.      Although some of the records called for by this warrant might be found in

the form of user-generated documents or records (such as word processing, picture, movie, or

texting files), digital devices can contain other forms of electronic evidence as well.        In

particular, records of how a digital device has been used, what it has been used for, who has used

it, and who has been responsible for creating or maintaining records, documents, programs,

applications, and materials contained on the digital device(s) are, as described further in the

attachments, called for by this warrant. Those records will not always be found in digital data

that is neatly segregable from the hard drive, flash drive, memory card, or other electronic

storage media image as a whole. Digital data stored in the Device(s), not currently associated
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with any file, can provide evidence of a file that was once on the storage medium but has since

been deleted or edited, or of a deleted portion of a file (such as a paragraph that has been deleted

from a word processing file). Virtual memory paging systems can leave digital data on a hard

drive that show what tasks and processes on a digital device were recently used. Web browsers,

e-mail programs, and chat programs often store configuration data on a hard drive, flash drive,

memory card, or memory chip that can reveal information such as online nicknames and

passwords. Operating systems can record additional data, such as the attachment of peripherals,

the attachment of USB flash storage devices, and the times a computer, smart phone, or other

digital device was in use. Computer, smart phone, and other digital device file systems can

record data about the dates files were created and the sequence in which they were created. This

data can be evidence of a crime, indicate the identity of the user of the digital device, or point

toward the existence of evidence in other locations. Recovery of this data requires specialized

tools and a controlled laboratory environment, and also can require substantial time.

               b.      Forensic evidence on a digital device can also indicate who has used or

controlled the device. This “user attribution” evidence is analogous to the search for “indicia of

occupancy” while executing a search warrant at a residence. For example, registry information,

configuration files, user profiles, e-mail, e-mail address books, chats, instant messaging logs,

photographs, the presence or absence of malware, and correspondence (and the data associated

with the foregoing, such as file creation and last-accessed dates) may be evidence of who used or

controlled the digital device at a relevant time, and potentially who did not.




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                c.      A person with appropriate familiarity with how a digital device works can,

after examining this forensic evidence in its proper context, draw conclusions about how such

digital devices were used, the purpose of their use, who used them, and when.

                d.      The process of identifying the exact files, blocks, registry entries, logs, or

other forms of forensic evidence on a digital device that are necessary to draw an accurate

conclusion is a dynamic process. While it is possible to specify in advance the records to be

sought, digital device evidence is not always data that can be merely reviewed by a review team

and passed along to investigators. Whether data stored on digital devices is evidence may

depend on other information stored on the devices and the application of knowledge about how

the devices behave. Therefore, contextual information necessary to understand other evidence

also falls within the scope of the warrant.

                e.      Further, in finding evidence of how a digital device was used, the purpose

of its use, who used it, and when, sometimes it is necessary to establish that a particular thing is

not present on the device. For example, the presence or absence of counter-forensic programs,

anti-virus programs (and associated data), and malware may be relevant to establishing the user’s

intent and the identity of the user.

                METHODS TO BE USED TO SEARCH DIGITAL DEVICES

        66.     Based on my knowledge, training, and experience, as well as information related

to me by agents and others involved in this investigation and in the forensic examination of

digital devices, I know that:

                a.      Searching digital devices can be an extremely technical process, often

requiring specific expertise, specialized equipment, and substantial amounts of time, in part
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because there are so many types of digital devices and software programs in use today. Digital

devices – whether, for example, desktop computers, mobile devices, or portable storage devices

– may be customized with a vast array of software applications, each generating a particular form

of information or records and each often requiring unique forensic tools, techniques, and

expertise. As a result, it may be necessary to consult with specially trained personnel who have

specific expertise in the types of digital devices, operating systems, or software applications that

are being searched, and to obtain specialized hardware and software solutions to meet the needs

of a particular forensic analysis.

               b.      Digital data is particularly vulnerable to inadvertent or intentional

modification or destruction. Searching digital devices can require the use of precise, scientific

procedures that are designed to maintain the integrity of digital data and to recover “hidden,”

erased, compressed, encrypted, or password-protected data. Recovery of “residue” of electronic

files from digital devices also requires specialized tools and often substantial time. As a result, a

controlled environment, such as a law enforcement laboratory or similar facility, is often

essential to conducting a complete and accurate analysis of data stored on digital devices.

              c.       Further, as discussed above, evidence of how a digital device has been

used, the purposes for which it has been used, and who has used it, may be reflected in the

absence of data on a digital device. For example, to rebut a claim that the owner of a digital

device was not responsible for a particular use because the device was being controlled remotely

by malicious software, it may be necessary to show that malicious software that allows someone

else to control the digital device remotely is not present on the digital device. Evidence of the

absence of data or software on a digital device is not segregable from the digital device itself.
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Analysis of the digital device as a whole to demonstrate the absence of particular data or

software requires specialized tools and a controlled laboratory environment and can require

substantial time.

              d.       Digital device users can attempt to conceal data within digital devices

through a number of methods, including the use of innocuous or misleading filenames and

extensions. For example, files with the extension “.jpg” often are image files; however, a user

can easily change the extension to “.txt” to conceal the image and make it appear as though the

file contains text. Digital device users can also attempt to conceal data by using encryption,

which means that a password or device, such as a “dongle” or “keycard,” is necessary to decrypt

the data into readable form. Digital device users may encode communications or files, including

substituting innocuous terms for incriminating terms or deliberately misspelling words, thereby

thwarting “keyword” search techniques and necessitating continuous modification of keyword

terms. Moreover, certain file formats, like portable document format (“PDF”), do not lend

themselves to keyword searches. Some applications for computers, smart phones, and other

digital devices, do not store data as searchable text; rather, the data is saved in a proprietary non-

text format. Documents printed by a computer, even if the document was never saved to the

hard drive, are recoverable by forensic examiners but not discoverable by keyword searches

because the printed document is stored by the computer as a graphic image and not as text. In

addition, digital device users can conceal data within another seemingly unrelated and innocuous

file in a process called “steganography.” For example, by using steganography, a digital device

user can conceal text in an image file that cannot be viewed when the image file is opened.

Digital devices may also contain “booby traps” that destroy or alter data if certain procedures are
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not scrupulously followed. A substantial amount of time is necessary to extract and sort through

data that is concealed, encrypted, or subject to booby traps, to determine whether it is evidence,

contraband, or instrumentalities of a crime.

              e.      Analyzing the contents of mobile devices, including tablets, can be very

labor intensive and also requires special technical skills, equipment, and software. The large,

and ever increasing, number and variety of available mobile device applications generate unique

forms of data, in different formats, and user information, all of which present formidable and

sometimes novel forensic challenges to investigators that cannot be anticipated before

examination of the device. Additionally, most smart phones and other mobile devices require

passwords for access. For example, even older iPhone 4 models, running IOS 7, deployed a type

of sophisticated encryption known as “AES-256 encryption” to secure and encrypt the operating

system and application data, which could only be bypassed with a numeric passcode. Newer cell

phones employ equally sophisticated encryption along with alpha-numeric passcodes, rendering

most smart phones inaccessible without highly sophisticated forensic tools and techniques, or

assistance from the phone manufacturer.        Mobile devices used by individuals engaged in

criminal activity are often further protected and encrypted by one or more third party

applications, of which there are many. For example, one such mobile application, “Hide It Pro,”

disguises itself as an audio application, allows users to hide pictures and documents, and offers

the same sophisticated AES-256 encryption for all data stored within the database in the mobile

device.

               f.     Based on all of the foregoing, I respectfully submit that searching any

digital device for the information, records, or evidence pursuant to this warrant may require a
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wide array of electronic data analysis techniques and may take weeks or months to complete.

Any pre-defined search protocol would only inevitably result in over- or under-inclusive

searches, and misdirected time and effort, as forensic examiners encounter technological and

user-created challenges, content, and software applications that cannot be anticipated in advance

of the forensic examination of the devices. In light of these difficulties, your affiant requests

permission to use whatever data analysis techniques reasonably appear to be necessary to locate

and retrieve digital information, records, or evidence within the scope of this warrant.

       67.     The volume of data stored on many digital devices will typically be so large that it

will be extremely impractical to search for data during the physical search of the premises.

               a.      Therefore, in searching for information, records, or evidence, further

described in Attachment B, law enforcement personnel executing this search warrant will

employ the following procedures:

                       1.     Upon securing the PREMISES, law enforcement personnel will,

consistent with Rule 41(e)(2)(B) of the Federal Rules of Criminal Procedure, seize any digital

devices (that is, the Device(s)), within the scope of this warrant as defined above, deemed

capable of containing the information, records, or evidence described in Attachment B and

transport these items to an appropriate law enforcement laboratory or similar facility for review.

For all the reasons described above, it would not be feasible to conduct a complete, safe, and

appropriate search of any such digital devices at the PREMISES. The digital devices, and/or any

digital images thereof created by law enforcement sometimes with the aid of a technical expert,

in an appropriate setting, in aid of the examination and review, will be examined and reviewed in

order to extract and seize the information, records, or evidence described in Attachment B.
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                       2.      The analysis of the contents of the digital devices may entail any or

all of various forensic techniques as circumstances warrant. Such techniques may include, but

shall not be limited to, surveying various file “directories” and the individual files they contain

(analogous to looking at the outside of a file cabinet for the markings it contains and opening a

drawer believed to contain pertinent files); conducting a file-by-file review by “opening,”

reviewing, or reading the images or first few “pages” of such files in order to determine their

precise contents; “scanning” storage areas to discover and possibly recover recently deleted data;

scanning storage areas for deliberately hidden files; and performing electronic “keyword”

searches through all electronic storage areas to determine whether occurrences of language

contained in such storage areas exist that are related to the subject matter of the investigation.

                       3.      In searching the digital devices, the forensic examiners may

examine as much of the contents of the digital devices as deemed necessary to make a

determination as to whether the contents fall within the items to be seized as set forth in

Attachment B. In addition, the forensic examiners may search for and attempt to recover

“deleted,” “hidden,” or encrypted data to determine whether the contents fall within the items to

be seized as described in Attachment B. Any search techniques or protocols used in searching

the contents of the seized digital devices will be specifically chosen to identify the specific items

to be seized under this warrant.




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                           BIOMETRIC ACCESS TO DEVICE(S)

       68.     This warrant permits law enforcement agents to obtain from the person of Walter

Messer (but not any other individuals present at the PREMISES at the time of execution of the

warrant) the compelled display of any physical biometric characteristics (such as

fingerprint/thumbprint or facial characteristics) necessary to unlock any Device(s) requiring such

biometric access subject to seizure pursuant to this warrant for which law enforcement has

reasonable suspicion that the aforementioned person(s)’ physical biometric characteristics will

unlock the Device(s). The grounds for this request are as follows:

       69.     I know from my training and experience, as well as from information found in

publicly available materials published by device manufacturers, that many electronic devices,

particularly newer mobile devices and laptops, offer their users the ability to unlock the device

through biometric features in lieu of a numeric or alphanumeric passcode or password. These

biometric features include fingerprint scanners, facial recognition features, and iris recognition

features. Some devices offer a combination of these biometric features, and the user of such

devices can select which features they would like to utilize.

       70.     If a device is equipped with a fingerprint scanner, a user may enable the ability to

unlock the device through his or her fingerprints. For example, Apple offers a feature called

“Touch ID,” which allows a user to register up to five fingerprints that can unlock a device.

Once a fingerprint is registered, a user can unlock the device by pressing the relevant finger to

the device’s Touch ID sensor, which is found in the round button (often referred to as the

“home” button) located at the bottom center of the front of the device. The fingerprint sensors


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found on devices produced by other manufacturers have different names but operate similarly to

Touch ID.

       71.     If a device is equipped with a facial-recognition feature, a user may enable the

ability to unlock the device through his or her face. For example, this feature is available on

certain Android devices and is called “Trusted Face.” During the Trusted Face registration

process, the user holds the device in front of his or her face. The device’s front-facing camera

then analyzes and records data based on the user’s facial characteristics. The device can then be

unlocked if the front-facing camera detects a face with characteristics that match those of the

registered face. Facial recognition features found on devices produced by other manufacturers

(such as Apple’s “Face ID”) have different names but operate similarly to Trusted Face.

       72.     If a device is equipped with an iris-recognition feature, a user may enable the

ability to unlock the device with his or her irises. For example, on certain Microsoft devices, this

feature is called “Windows Hello.” During the Windows Hello registration, a user registers his

or her irises by holding the device in front of his or her face. The device then directs an infrared

light toward the user’s face and activates an infrared-sensitive camera to record data based on

patterns within the user’s irises. The device can then be unlocked if the infrared-sensitive

camera detects the registered irises. Iris-recognition features found on devices produced by other

manufacturers have different names but operate similarly to Windows Hello.

       73.     In my training and experience, users of electronic devices often enable the

aforementioned biometric features because they are considered to be a more convenient way to

unlock a device than by entering a numeric or alphanumeric passcode or password. Moreover, in

some instances, biometric features are considered to be a more secure way to protect a device’s
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contents. This is particularly true when the users of a device are engaged in criminal activities

and thus have a heightened concern about securing the contents of a device.

       74.     As discussed in this Affidavit, your Affiant has reason to believe that one or more

digital devices, the Device(s), will be found during the search. The passcode or password that

would unlock the Device(s) subject to search under this warrant currently is not known to law

enforcement. Thus, law enforcement personnel may not otherwise be able to access the data

contained within the Device(s), making the use of biometric features necessary to the execution

of the search authorized by this warrant.

       75.     I also know from my training and experience, as well as from information found

in publicly available materials including those published by device manufacturers, that biometric

features will not unlock a device in some circumstances even if such features are enabled. This

can occur when a device has been restarted, inactive, or has not been unlocked for a certain

period of time. For example, Apple devices cannot be unlocked using Touch ID when: (1) more

than 48 hours has elapsed since the device was last unlocked; or, (2) when the device has not

been unlocked using a fingerprint for 8 hours and the passcode or password has not been entered

in the last 6 days. Similarly, certain Android devices cannot be unlocked with Trusted Face if

the device has remained inactive for four hours. Biometric features from other brands carry

similar restrictions. Thus, in the event law enforcement personnel encounter a locked device

equipped with biometric features, the opportunity to unlock the device through a biometric

feature may exist for only a short time.

       76.     Due to the foregoing, if law enforcement personnel encounter any Device(s) that

are subject to seizure pursuant to this warrant and may be unlocked using one of the
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aforementioned biometric features, this warrant permits law enforcement personnel to obtain

from the aforementioned person(s) the display of any physical biometric characteristics (such as

fingerprint/thumbprint or facial characteristics) necessary to unlock any Device(s), including to

(1) press or swipe the fingers (including thumbs) of the aforementioned person(s) to the

fingerprint scanner of the Device(s) found at the PREMISES; (2) hold the Device(s) found at the

PREMISES in front of the face of the aforementioned person(s) to activate the facial recognition

feature; and/or (3) hold the Device(s) found at the PREMISES in front of the face of the

aforementioned person(s) to activate the iris recognition feature, for the purpose of attempting to

unlock the Device(s) in order to search the contents as authorized by this warrant.

       77.     The proposed warrant does not authorize law enforcement to require that the

aforementioned person(s) state or otherwise provide the password, or identify specific biometric

characteristics (including the unique finger(s) or other physical features) that may be used to

unlock or access the Device(s). Nor does the proposed warrant authorize law enforcement to use

the fact that the warrant allows law enforcement to obtain the display of any biometric

characteristics to compel the aforementioned person(s) to state or otherwise provide that

information. However, the voluntary disclosure of such information by the aforementioned

person(s) would be permitted under the proposed warrant. To avoid confusion on that point, if

agents in executing the warrant ask any of the aforementioned person(s) for the password to any

Device(s), or to identify which biometric characteristic (including the unique finger(s) or other

physical features) unlocks any Device(s), the agents will not state or otherwise imply that the

warrant requires the person to provide such information, and will make clear that providing any

such information is voluntary and that the person is free to refuse the request.
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       78.     Law enforcement personnel will commence the execution of this search and

seizure warrant upon the PREMISES during daytime hours (between 6:00 a.m. and 10:00 p.m.),

as early as practicable. It is anticipated that law enforcement personnel will attempt to image or

copy digital information from certain servers on the PREMISES, rather than remove those

servers from the premises. Such onsite imaging or copying will minimize disruptions to the use

of those servers.

       79.     From my training and experience, I know that imaging or copying information

from servers on the PREMISES can be substantially delayed by various factors which cannot be

ascertained or sometimes even anticipated until the actual execution of the warrant. There may,

for example, be no system administrator available, willing, or able to assist law enforcement

personnel to narrow the search by identifying the virtual or dedicated server(s) on the

PREMISES, or the server folders, containing information within the scope of the warrant. There

may be terabytes or even petabytes of information to be copied. The network architecture of the

servers on the PREMISES or the configuration of the server hardware may affect and delay data

transfer speeds. Data encryption and password protections may also significantly delay imaging

or copying as law enforcement personnel seek to identify necessary passwords without which

imaging or copying on the PREMISES would likely be unachievable.                    Under some

circumstances, data downloads can be interrupted by network or hardware malfunctions or other

network or hardware attributes which often necessitates restarting the data downloads from the

beginning.

       80.     For all of the foregoing reasons, I respectfully submit that good cause exists,

pursuant to Fed. R. Crim. P. 41(e)(2)(A)(ii), for authorization to execute the search warrant at
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any time of the day or night. Law enforcement personnel will commence executing the warrant

as near to 6:00 a.m. as practicable. However, given the myriad factors that that may prevent

completion of the search and seizure by 10:00 p.m., including those described above, I request

authorization to continue the warrant execution past 10:00 p.m., if necessary, until completion of

the warrant execution. Suspending the execution at 10:00 p.m. until 6:00 a.m. could compromise

data downloads in progress, render stored data subject to alteration or deletion, require securing

the PREMISES during the intervening hours, and prolong the disruption of access to, and use of,

the PREMISES and the digital devices being searched.




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